

Matter of Hicks (2018 NY Slip Op 05661)





Matter of Hicks


2018 NY Slip Op 05661


Decided on August 2, 2018


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: August 2, 2018


[*1]In the Matter of WILLIAM A. HICKS III, an Attorney. (Attorney Registration No. 1582220)

Calendar Date: July 30, 2018

Before: McCarthy, J.P., Egan Jr., Lynch, Devine and Clark, JJ.


William A. Hicks III, Paradise Valley, Arizona, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER 
Per Curiam.
William A. Hicks III was admitted to practice by this Court in 1967 and lists a business address in Phoenix, Arizona with the Office of Court Administration. Hicks now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application by correspondence from its Chief Attorney.
As is noted by AGC, Hicks is presently not current in his New York attorney registration requirements, having failed to timely register for the biennial period beginning in 2018 (see Judiciary Law § 468-a; Rules of the Chief Admin of Cts [22 NYCRR] § 118.1). Inasmuch as Hicks is therefore subject to potential disciplinary action (see Judiciary Law § 468-a [5]; Rules of Professional Conduct [22 NYCRR 1200.0] rule 8.4 [d]; see also Matter of Attorneys in Violation of Judiciary Law § 468-a, 113 AD3d 1020, 1021 [2014]), he is ineligible for nondisciplinary resignation and his application must be denied (see Matter of Cluff, 148 AD3d 1346, 1346 [2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [2017]). Further, any future application by Hicks must be supported by proof of his full satisfaction of the requirements of Judiciary Law § 468-a and Rules of the Chief Administrator of the Courts (22 NYCRR) § 118.1 (see Matter of Frank, 146 AD3d 1228, 1228-1229 [2017]).
McCarthy, J.P., Egan Jr., Lynch, Devine and Clark, JJ., concur.
ORDERED that William A. Hicks III's application for permission to resign is denied.








